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 9
10 Attorneys for Mohammed Abdul Qayyum
11                       IN THE UNITED STATES DISTRICT COURT
12                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,               Case No. 3:18-CR-04683-GPC-3
                                             Hon. Gonzalo P. Curiel
15
          Plaintiff,
16                                           MOTION TO CORRECT THE IMPOSED
     v.                                      TERM OF SUPERVISED RELEASE
17
18   MOHAMMED ABDUL QAYYUM,
19
          Defendant.
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                                                                  18-CR-04683-GPC-3
                        MOTION TO CORRECT TERM OF SUPERVISED RELEASE
     Case 3:18-cr-04683-GPC Document 518 Filed 10/05/22 PageID.7537 Page 2 of 3



 1         TO UNITED STATES ATTORNEY RANDY S. GROSSMAN, ASSISTANT
 2 UNITED STATES ATTORNEYS MELANIE K. PIERSON AND SABRINA L.
 3 FÈVE, AND DOJ ATTORNEY CANDINA S. HEATH:
 4         Defendant Mohammed Abdul Qayyum, by and through his counsel, hereby moves
 5 the Court to correct the imposed term of supervised release from three years to one year,
 6 pursuant to 18 U.S.C. § 3583(b)(3). The government agrees that the statutory maximum
 7 term of supervised release available for Mr. Qayyum’s misdemeanor violation of 18 USC
 8 § 1037(a)(5) is one year pursuant to 18 USC § 3583(b)(3).
 9         At Mr. Qayyum’s sentencing hearing on October 3, 2022, AUSA Pierson argued that
10 three years of supervised release were available for Mr. Qayyum’s offense and asked the
11 Court to impose as much, which the Court did. See Dkt. No. 517. Following Mr. Qayyum’s
12 sentencing hearing, counsel looked for and could not find any authority to support the
13 availability of three years of supervised release for Mr. Qayyum’s offense. Undersigned
14 counsel conferred with the government, through AUSA Pierson, who was also unable to
15 provide any authority.      AUSA Pierson concedes that the statutory maximum for
16 Mr. Qayyum’s offense is one year and said that she had been thinking about the CAN-
17 SPAM felony when she argued that three years of supervised release were available.
18         Accordingly, Mr. Qayyum respectfully requests that the sentence be modified to
19 impose one year of supervised release. The government, through AUSA Pierson, has no
20 objection to this modification.
21                                            Respectfully submitted,
22 Dated: October 5, 2022                    BIENERT KATZMAN
23                                           LITTRELL WILLIAMS LLP
24                                           By: /s/ Whitney Z. Bernstein
25                                                Thomas H. Bienert, Jr.
                                                  James D. Riddet
26                                                Whitney Z. Bernstein
27                                                Carlos A. Nevarez
                                                  Attorneys for Mohammed Abdul Qayyum
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                     MOTION TO CORRECT TERM OF SUPERVISED RELEASE
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 1                               CERTIFICATE OF SERVICE
 2         Counsel for Mohammed Abdul Qayyum certifies that the foregoing pleading has
 3 been electronically served on the following parties by virtue of their registration with the
 4 CM/ECF system:
 5
                                       David W. Wiechert
 6                                       Jessica C. Munk
 7                                      William J. Migler
                                   Attorneys For Jacob Bychak
 8
                                       Gary S. Lincenberg
 9                                  Nicole Rodriguez Van Dyk
                                        Darren L. Patrick
10                                      Alexis A. Wiseley
11                                  Attorneys For Petr Pacas

12                                       Randy K. Jones
                                  Daniel J. Goodrich (Pro Hac)
13                                 Ryan Dougherty (Pro Hac)
14                               Attorneys For Mark Manoogian

15                                  AUSA Melanie K. Pierson
                                     AUSA Sabrina L. Fève
16                                   AUSA Ashley E. Goff
                                     U.S. Attorney’s Office
17
18                                      Candina S. Heath
                                    U.S. Department of Justice
19
20
21                                               /s/ Whitney Z. Bernstein
                                                 Whitney Z. Bernstein
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                                                                            18-CR-04683-GPC-3
                                    CERTIFICATE OF SERVICE
